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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

 

 

 

CASE NO.
KARIE SHOENBERGER,
Plaintiff,
Vv.
JURY TRIAL DEMANDED
C.A.R.E.S., INC,
ELECTRONICALLY FILED
Defendant.
COMPLAINT

Plaintiff, KARIE SHOENBERGER, by and through undersigned counsel,
Weisberg Cummings, P.C., hereby files this Complaint against Defendant,
C.A.R.E.S., INC., for violations of the Fair Labor Standards Act of 1938, 29
U.S.C. §§ 201 et seg. (“FLSA”), the Pennsylvania Minimum Wage Act of 1968, 43
P.S. § 333.101 et seq. (“PMWA”), the Pennsylvania Wage Payment and Collection
Law, 43 P.S. 260.1 et seg. (““PWPCL”), and the Adult Protective Services Act, 35
Pa. Stat. Ann. § 10210.101 et seg. (“APSA”), as follows:

PARTIES
1. Plaintiff Karie Shoenberger (“Ms. Shoenberger”) is an adult and

competent individual residing at 9 East Abbott Street, Lansford, Carbon County,
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Pennsylvania. Ms. Shoenberger’s consent to become a party plaintiff is attached as
Exhibit “A” hereto.

2. Defendant C.A.R.E.S., Inc. (“CARES”) is a corporation with a
primary business address of 105 West Broad Street, Suite 200, Tamaqua, Schuylkill
County, Pennsylvania 18252.

3. At all times relevant to this Complaint, CARES conducted business
operations and employed Ms. Shoenberger within the Commonwealth of
Pennsylvania.

4, CARES is an organization providing person-centered services to
individuals with developmental disabilities and behavioral health challenges.

5. At all times relevant to this Complaint, CARES has been a facility
within the meaning of the APSA. 35 Pa. Stat. Ann. § 10210.103.

6. At all times relevant to this Complaint, CARES has been an employer
within the meaning of the FLSA, PMWA and PWPCL.

7. At all times relevant to this Complaint, CARES has been an enterprise
within the meaning of the FLSA, 29 U.S.C. § 203(r).

8. Atall times relevant to this Complaint, CARES has been an enterprise

engaged in commerce or in the production of goods for commerce within the

meaning of the FLSA because it has engaged employees in commerce. 29 U.S.C.

§ 203(s)(1).
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9. CARES has had, and continues to have, an annual gross income of

sales made, or business done, of not less than $500,000.00.
JURISDICTION AND VENUE

10. The FLSA authorizes court actions by private parties to recover
damages for violations of the FLSA’s wage and hour provisions. Subject matter
jurisdiction over these FLSA claims arises under 29 U.S.C. § 216(b) and 28 U.S.C.
§ 1331.

11. The PMWA, PWPCL and APSA each provide for a private right of
action to enforce its provisions. This Court has supplemental jurisdiction over
Pennsylvania state law claims pursuant to 28 U.S.C. § 1367.

12. Venue in this district is proper under 28 U.S.C. § 1391(b) because
CARES does business in this district and substantial unlawful conduct giving rise
to the claims set forth in this Complaint occurred in this district.

BACKGROUND

13. Ms. Shoenberger was employed by CARES as a member of the

Community Support staff in Jim Thorpe, Pennsylvania for about one year until her
termination in or about July 2019.
14. Prior to being employed by CARES, Ms. Shoenberger was made an

offer of employment to work for an agreed upon rate of pay, including overtime pay
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at the legally required rate, which was subsequently accepted by Ms. Shoenberger,
thus creating a legally binding contract.

15. Throughout the course of her employment, Ms. Shoenberger was an
excellent employee, and she never received any discipline.

16. On a monthly basis, Ms. Shoenberger, along with other staff, were
required to attend staff meetings for which they never received regular or overtime
pay. This is a violation of the FLSA, PMWA and PWPCL.

17. Ms. Shoenberger was also required to complete twenty-four (24)
hours of mandatory training on behalf of CARES for which she never received
regular or overtime pay. This is also violation of the FLSA, PMWA and PWPCL.

18. On or about May 7, 2019, Ms. Shoenberger witnessed an incident at
work where another staff member, Mary, physically grabbed and dragged a client
by her right arm as the client was running towards Ms. Shoenberger and trying to
hide behind her so that Mary could not grab her again.

19. This incident met the definition of “abuse” under the APSA. 35 Pa.
Stat. Ann. § 10210.103

20. The next morning after this incident, Ms. Shoenberger notified the
CARES program specialist, Jacqueline Shokey, of the incident that happened the
previous day. The client that the abuse happened to was called into the office by

Ms. Shokey along with Ms. Shoenberger. After the client was asked what
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happened and explained how she was grabbed and dragged by her arm, Ms. Shokey
looked and Ms. Shoenberger and said, "I do not think any of that happened," to
which Ms. Shoenberger replied that the event did happen, and that Ms. Shoenberger
had witnessed it.

21. Asan employee of a facility who had witnessed abuse of a client, Ms.
Shoenberger was a mandatory reporter under the APSA. Following company
policy, Ms. Shoenberger advised Ms. Shokey that a report needed to be made to the
designated agency.

22. Following Ms. Shoenberger’s report to Ms. Shokey and insistence that
a report be made to the designated Commonwealth agency, Ms. Shokey began a
pattern of harassment and micro-management of Ms. Shoenberger that lasted until
Ms. Shoenberger’s termination in July 2019.

23. As of May 13, 2019, Ms. Shokey had still not reported the incident
that happened on or about May 7.

24. On or about May 14, 2019, another staff member at CARES filed an
internal complaint with the program specialist at the East Stroudsburg CARES
center about the incident not being reported.

25. The CARES main office was notified of the incident by the program
specialist at East Stroudsburg, and a complaint was then started and an investigation

was finally initiated.
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26. On or about May 14, 2019, Ms. Shoenberger gave a verbal and
written statement to the person who was in charge of doing the investigation.

27. On or about May 15, 2019, a request for time off that Ms.
Shoenberger had filed on May 7, 2019 was denied. All other requests for time off
submitted by Plaintiff's similarly situated coworkers would be either approved or
denied within a day or two of filing.

28. Also, on or about May 15, 2019, Ms. Shoenberger received a call
from Korey Ebert, the Director of Community and Day Services for CARES, who
asked Ms. Shoenberger to verbally explain to him what had happened with the
incident.

29. Due to the retaliation and unfavorable treatment Ms. Shoenberger was
receiving after making her statement, Ms. Shoenberger sent a text to Mr. Ebert after
the phone call asking if she could be transferred to another center since there were
openings; however, Mr. Ebert never responded.

30. On or about July 12, 2019, Ms. Shoenberger received a bonus check
for good work in the amount of $1,021.84. Ms. Shoenberger received an 82/100 on
the scale for the bonus according to how well she was doing her job. This
assessment had been made by Ms. Shokey prior to the May 7, 2019 incident.

31. On or about July 14, 2019, Ms. Shoenberger received a text message

from Ms. Shokey stating that she would not be needed for work on the following
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day even though she was a full-time employee, and stating that low attendance of
clients was the reason. Company protocol stated that as a fulltime employee, Ms.
Shoenberger should have been scheduled and one of the part time employees should
have been taken off the schedule, and Ms. Shoenberger immediately questioned Ms.
Shokey about the deviation from company policy. Receiving no immediate
response, Ms. Shoenberger made other plans for the following day.

32. More than a half hour after Ms. Shokey told Ms. Shoenberger that she
would not be scheduled to work on July 15, 2019, Ms. Shokey advised Ms.
Shoenberger that she should report to the Walnutport center instead, to which Ms.
Shoenberger replied that she had already made plans for July 15.

33. Ms. Shoenberger then emailed Lisa House, the Human Resources
Manager, asking who she needed to talk to about the issues that were ongoing with
Ms. Shokey. That email was never answered.

34. On July 15, 2019, at or about 10:20 a.m., Ms. Shoenberger received a
call from Ms. Shokey stating that she was being terminated.

35. Ms. Shokey would not give Ms. Shoenberger an explanation as to
why she was being terminated; however, upon information and belief, CARES
reported to Unemployment Compensation that Ms. Shoenberger’s client did not

want to be with her any more, a statement which was untrue.
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36. CARES’s intimidation and retaliation against Ms. Shoenberger for
pursuing and participating in the mandatory reporting of the May 7, 2019 incident
was in violation of the APSA.

COUNT I
VIOLATIONS OF THE FLSA

37. Ms. Shoenberger incorporates all previous paragraphs of this
Complaint herein by reference as if more fully set forth at length.

38. At all times material herein, Ms. Shoenberger has been entitled to the
rights, protections, and benefits provided under the FLSA, 29 U.S.C. § 201, et seg.

39. Ms. Shoenberger is an “employee” and CARES was her “employer”
covered under Section 203 of the FLSA.

40. The FLSA regulates, among other things, the payment of overtime to
employees who are engaged in interstate commerce, or engaged in the production
of goods for commerce, or employed in an enterprise engaged in commerce or in
the production of goods for commerce. 29 U.S.C. § 207(a)(1).

41. Section 13 of the FLSA exempts certain categories of employees from
overtime pay obligations. None of the FLSA exemptions apply to Plaintiff. 29
ULS.C. § 213.

42. As set forth above, CARES violated the overtime provisions of the

FLSA as it failed to pay Ms. Shoenberger the required one and one-half (114) times
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for each hour worked in excess of forty (40) hours in a workweek, in violation of
29 U.S.C. §§ 207(a) and 215(a)(2). Overtime pay is, therefore, due and owing to
Ms. Shoenberger.

43. CARES’s failures to pay Ms. Shoenberger overtime at one and one-
half (1’2) times Ms. Shoenberger’s regular rate of pay for all hours worked over
forty (40) hours in a workweek was willful, intentional, and malicious.

44. CARES violated the FLSA by failing to pay for overtime. In the
course of perpetrating these unlawful practices, CARES also willfully failed to
keep accurate records of all hours worked by Ms. Shoenberger.

45. CARES has not acted in good faith or with reasonable grounds to
believe that its actions and omissions were not in violation of the FLSA, and as a
_ fesult thereof, Ms. Shoenberger is entitled to recover an award of liquidated
damages in an amount equal to the amount of unpaid overtime pay permitted by 29
U.S.C. § 216(b). Alternatively, should this Honorable Court find CARES did not
act willfully in failing to pay overtime pay, Ms. Shoenberger is entitled to an award
of pre-judgment interest at the applicable legal rate.

46. Asa result of the aforesaid willful violations of the FLSA’s overtime
pay provisions, overtime compensation has been unlawfully withheld by CARES

from Ms. Shoenberger. Accordingly, CARES is liable under 29 U.S.C. § 216(b),
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together with an additional amount as liquidated damages, pre-judgment and post-

judgment interest, reasonable attorneys’ fees, and costs of this action.

WHEREFORE, Plaintiff, Karie Shoenberger, respectfully request that this

Honorable Court enter Judgment in their favor and against Defendant, C.A.R.E.S.,

Inc., as follows:

(a)

(b)

(c)

(d)

(e)

(f)

(g)

Enter judgment in favor of Ms. Shoenberger against CARES for
violations of the FLSA’s overtime requirements;

Award Ms. Shoenberger her unpaid overtime wages, in an amount to
be shown at trial;

Award Ms. Shoenberger an additional equal amount as liquidated
damages;

Award Ms. Shoenberger all compensatory, including compensation
for any retirement and/or tax consequences;

Award Ms. Shoenberger pre- and post-judgment interest at the legal
rate;

Award Ms. Shoenberger her costs and reasonable attorneys’ fees in
bringing this action;

Enter an Order enjoining CARES from future violations of the

overtime wage provisions of the FLSA; and

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(h) Award Ms. Shoenberger any other relief that this Court or a jury
deems appropriate.
COUNT I
VIOLATIONS OF THE PMWA

47. Ms. Shoenberger incorporates all previous paragraphs of this
Complaint herein by reference as if more fully set forth at length.

48. CARES is an “employer” as that term is defined under the PMWA, 43
Pa.C.S. § 333.103(g), and is thereby subject to liability for overtime wages,
liquidated damages and reasonable attorneys’ fees and other costs for non-payment
of salary and/or wages under the PMWA, 43 Pa.C.S. § 333.101 et seq.

49. As set forth above, CARES, by its conduct, violated the overtime
provisions of the PMWA as it failed to pay Ms. Shoenberger the required one and
one-half (1’4) times for each hour worked in excess of forty (40) hours in a
workweek, in violation of 43 Pa.C.S. § 333.104(c). Overtime pay is, therefore, due
and owing to Ms. Shoenberger.

50. The PMWA requires that CARES compensate Ms. Shoenberger at a
rate of at least one and one-half (1’4) times her usual hourly wage for each hour of

overtime. 43 Pa.C.S. § 333.104(c).

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51.

The total amount of compensation due to Ms. Shoenberger by CARES

constitutes wages under 43 Pa.C.S. § 333.103(d), and failure to pay the amount due

constitutes a violation of the PMWA.

52.

CARES’s failure and refusal to pay overtime wages was willful,

intentional, and not in good faith.

WHEREFORE, Plaintiff, Karie Shoenberger, respectfully requests that this

Honorable Court enter Judgment in her favor and against Defendant, C.A.R.E.S.,

Inc., as follows:

(a)

(b)

(c)

(d)

(e)

Enter judgment in favor of Ms. Shoenberger for violations of the
PMWA’s overtime requirements;

Award Ms. Shoenberger her unpaid overtime wages for being
required to work more than forty (40) hours per week without being
paid at overtime rates during the applicable statute of limitations
period, in an amount to be shown at trial;

Award Ms. Shoenberger compensation for any retirement and/or tax
consequences;

Award Ms. Shoenberger pre- and post-judgment interest at the legal
rate;

Award Ms. Shoenberger her costs and reasonable attorneys’ fees in

bringing this action;

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(f) Enter an Order enjoining CARES from future violations of the
overtime provisions of the PMWA; and
(g) Award Ms. Shoenberger any other relief that this Court or a jury
deems appropriate.
COUNT II

VIOLATIONS OF THE PWPCL
Failure to Pay Straight-Time Wages and Overtime Wages

53. Ms. Shoenberger incorporates all previous paragraphs of this
Complaint herein by reference as if more fully set forth at length.

54. CARES failed to pay Ms. Shoenberger for all hours actually worked
and at the proper rate of pay, including hours spent in staff meetings and completing
mandatory training.

55. CARES’s failure to pay the correct amount of straight-time hourly
wages resulted in a breach of the aforementioned contract and thus permits a civil
suit to recover wages due to Ms. Shoenberger, costs and attorneys’ fees under 43
Pa. Stat. Ann. 260.9a, as well as liquidated damages of 25% of the total amount of
wages due or $500 dollars, whichever is greater, pursuant to 43 Pa. Stat. Ann.
260.10.

WHEREFORE, Plaintiff, Karie Shoenberger, respectfully requests that this
Honorable Court enter Judgment in her favor and against Defendant, C.A.R.E.S.,

Inc., as follows:

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(a)

(b)

(d)

(e)

(f)

56.

Enter judgment in favor of Ms. Shoenberger for violations of the
PWPCL;
Award Ms. Shoenberger her unpaid wages, including wages for
overtime, in an amount to be shown at trial;
Award Ms. Shoenberger liquidated damages allowable under the
PWPCL;
Award Ms. Shoenberger her costs and reasonable attorneys’ fees in
bringing this action;
Enter an Order enjoining CARES from future violations of the
PWPCL; and
Award Ms. Shoenberger any other relief that this Court or a jury
deems appropriate.
COUNT IV
VIOLATIONS OF THE APSA

Ms. Shoenberger incorporates all previous paragraphs of this

Complaint herein by reference as if more fully set forth at length.

57.

The reason given for the Ms. Shoenberger’s termination was a pretext

for the real reason, which was retaliation for the Ms. Shoenberger’s exercise of her

legal right and duty to report abuse.

58.

The APSA mandates reporting of abuse. 35 Pa. Stat. Ann. § 10210. 6

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59. The APSA, 35 P.S. § 10210.302(d) prohibits retaliation for reporting
abuse under the act, as follows:
(d)  Retaliatory action.

(1) Any person who makes a report or cooperates with
the agency, including providing testimony in any
administrative or judicial proceeding, and any
adult in need of protective services shall not be
subject to any discriminatory, retaliatory or
disciplinary action by an employer or by any other
person or entity.

60. The APSA, 35 P.S. § 10210.302(e) prohibit intimidation for reporting
abuse under the act, as follows:
(ec)  Intimidation.—

(1) A person, including an adult in need of protective
services, with knowledge sufficient to justify
making a report or cooperating with an agency,
including possibly providing testimony in an
administrative or judicial proceeding, shall not be
subject to any intimidation by an employer or by
any other person or entity.

61. As an employee of an assisted living facility, Ms. Shoenberger is
considered a mandated reporter.
62. The administrators of the CARES’s facility had a legal duty to report

the May 2019 event to the Commonwealth agency, as it was reported to them by

Ms. Shoenberger.

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63. Based upon information and belief, despite Plaintiffs insistence, the
May 2019 event was not reported to the Commonwealth until complaints were
made to CARES’s home office.

64. | When an employee is discharged in a retaliatory manner for reporting
abuse, APSA provides the following remedy:

A person who violates this subsection is subject to civil action by the
reporter or the adult in need of protective services, in which action the
reporter or adult in need of protective services shall recover treble
compensatory damages, compensatory and punitive damages or
$5,000, whichever is greater.

65. CARES’s conduct in terminating Ms. Shoenberger was in retaliation
for reporting abuse; it was purposeful, willful, self-interested, wanton, outrageous,
and illegal pursuant to the APSA.

66. [tis necessary that Ms. Shoenberger seek punitive damages to protect
herself and others from termination for exercising their rights, and doing their civic
and professional duty in exposing abuse, and to prevent further violation of the
APSA.

WHEREFORE, Plaintiff, Karie Shoenberger demands judgment in her favor
for past-lost wages, future-lost wages, loss of benefits, compensatory damages

allowable at law, treble compensatory damages, punitive damages, attorneys’ fees,

costs, expenses, pre and post-judgment interest, and delay damages.

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JURY DEMAND

Ms. Shoenberger demands a trial by jury on all issues triable to a jury as a

matter of right.

November 6, 2019
Date

 

Respectfully submitted,
WEISBERG CUMMINGS, P.C.

/s/ Larry A. Weisberg

Larry A. Weisberg, Esquire

Bar I.D. No.: PA 83410
lweisberg@weisbergcummings.com

/s/ Derrek W. Cummings
Derrek W. Cummings, Esquire
Bar .D. No.: PA 83286

dcummings@weisbergcummings.com

/s/ Steve T. Mahan

Steve T. Mahan, Esquire

Bar L.D. No.: PA 313550
smahan@weisbergcummings.com

/s/ Stephen P. Gunther

Stephen P. Gunther, Esquire

Bar I.D. No.: PA 324203
sgunther@weisbergcummings.com

2704 Commerce Drive, Suite B
Harrisburg, PA 17110-9380
(717) 238-5707

(717) 233-8133 (Fax)

Counsel for Plaintiff

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CONSENT TO BECOME A PARTY PLAINTIFF
Fair Labor Standards Act, 29 U.S.C. § 216(b)

I hereby consent to become a party plaintiff in the foregoing action.

Date: | 2| 2019 Ans NS noucbea—

Karie Shoenber fer

 
